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                              UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF MICHIGAN

MARK GOTTSLEBEN, individually and on behalf
of all others similarly situated,                       CASE NO. 1:22-cv-00866-HYJ-RSK
                                                        CLASS ACTION
                               Plaintiff,
                                                        Chief Judge Hala Y. Jarbou
        vs.                                             Magistrate Judge Ray Kent

INFORMA MEDIA, INC. F/K/A PENTON MEDIA,
INC.,

                               Defendant.

               DECLARATION OF HILARY F. KORMAN IN SUPPORT OF
              MOTION TO EXTEND TIME TO FILE RESPONSIVE PLEADING

        I, Hilary F. Korman, declare as follows:

        1.      I am an attorney at the law firm of Blank Rome, LLP, counsel for defendant Informa

Media, Inc. (“Informa”) and I am admitted to practice in this Court. I submit this declaration in

further support of Informa’s Motion to extend the time to file a responsive pleading. I have

personal knowledge of the facts set forth herein, except as to matters stated on information and

belief, which I am informed and believe to be true, and if called upon to do so, I could and would

competently testify hereto.

        2.      On July 21, 2023, I contacted one of the attorneys for Plaintiff, Frank Hedin, by

phone to discuss both the timing of the Answer as well as one outstanding discovery issue he had

raised the previous day. I indicated that, due to a scheduling error, Informa required a one-day

extension of time to respond to the First Amended Complaint, from July 21,2024 to July 24, 2023.

Mr. Hedin indicated that he had to speak with the other attorneys for Plaintiff but that he did not

expect it to be a problem and that he would confirm the position within an hour.




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        3.     Later, Mr. Hedin responded by email and indicated that Plaintiff consented to the

one-day extension to file the Answer and also requested that Informa provide certain additional

case documentation in response to discovery. A true and correct copy of this email exchange is

annexed here to as Exhibit A.

        4.     Informa began to finalize its Answer while also working to update its previous

document production, and was about to file its Answer on the day it received the Court’s July 24,

2023 Order to Show Cause (ECF No. 53).

        5.     A copy of Informa’s Answer, which Informa respectfully requests that the Court

accept for filing, is annexed hereto as Exhibit B.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on this 24th day of July 2023 at New York, New York.


                                              /s/ Hilary F. Korman
                                              Hilary Korman

                                              Counsel for Informa Media, Inc.




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2023, I caused the foregoing to be electronically filed with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

attorneys or parties of record.



                                          By: /s/ Ana Tagvoryan
                                                  Ana Tagvoryan




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